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                 EXHIBIT A
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  9/28/2018                                                  Quality Improvement Organizations - Centers for Medicare & Medicaid Services




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    Quality Improvement Organizations
    What is the QIO Program?

    The QIO Program, one of the largest federal programs dedicated to improving health quality for Medicare beneficiaries,
    is an integral part of the U.S. Department of Health and Human (HHS) Services' National Quality Strategy for providing
    better care and better health al lower cost. By law, the mission of the QIO Program is to improve the effectiveness,
    efficiency, economy, and quality of services delivered to Medicare beneficiaries. Based on this statutory charge, and
    CMS's program experience, CMS Identifies the core functions of the 010 Program as:

       •      Improving quality of care for beneficiaries;
       •      Protecting the integrity of the Medicare Trust Fund by ensuring that Medicare pays only for services and goods
       that are reasonable and necessary and that are provided in Ille most appropriate setting; and
       •      Protecting beneficiaries by expeditiously addressing individual complaints, such as beneficiary complaints;
       provider-based notice appeals; violations of Ille Emergency Medical Treatment and Labor Act (EMTALA); and other
       related responsibilities as articulated in QIO-related law,

   What are QIOs?

   A Quality Improvement Organization (QIO) is a group of health quality experts, clinicians, and consumers organized to
   improve the quality of care delivered to people with Medicare.

   There are two types of QIOs that work under the direction of the Centers for Medicare & Medicaid Services in support of
   the QIO Program:

   Beneficiary and Family Centered Care (BFCC)-QIOs

   BFCC-QIOs help Medicare beneficiaries exercise their right to high-quality health cnre. They manage all beneficiary
   complaints and quality of care reviews to ensure consistency in the review process while taking into consideration local
   factors important to beneficiaries and their families. They also handle cases in which beneficiaries want to appeal a
   health care provider's decision to discharge them from the hospital or discontinue other types of services. Two
   designated BFCC-QIOs serve all 50 states and three territories, which are grouped into five regions.

   Quality Innovation Network (QIN)-QIOs

   The QIO Program's 14 Quality Innovation Network-QtOs (QIN-QIOs) bring Medicare beneficiaries, providers, and
   communities togethor in data-driven initiatives that increase patient safety, make communities healthier, better
   coardinale post-hospital care, and improve clinical quality. By serving regions of two to six slates each, QIN-QI Os are
   able to help best practices for bettor care spread more quickly, while still accommodating local conditions and cultural
   factors.

   Why does CMS have QIOs?

   CMS relies on OIOs to improve the quality of health care for all Medicare beneficiaries. Furthermore, QIOs are required
   under Sections 1152-1154 of the Social Security Act. The 010 Program is an important resource in CMS's effort to
   improve quality and efficiency of care for Medicare beneficiaries. Throughout its history, the Program has been
  instrumental in advancing national.efforts to motivate providers in improving quality, and in measuring and improving
  outcomes of quality.

  QIO Program Transformation

  CMS redesigned its QIO Program to further enhance the quality of services for Medicare beneficiaries, The new
  program structure maximizes learning and collaboration in improving care, enhances nexibility, supports the spread of
  effective new practices and models of care, helps achieve the priorities of the National Quality Strategy and the goals of
  !he CMS Quality Strategy, and delivers progrnm value to beneficiaries, patients, and taxpayers.

  The QIO Program changes include separating case review from quality improvement, extending the contract period of
  performance from three (3) to five (5) years, removing requirernents to rest1ict QIO activity to a single entity in each
  state/ territory, and opening contractor consideration to a broad range of entities to perform the work.

  Now, one group of QIOs (BFCC-QIOs) addresses quality of care concerns and appeals, while another group (QIN-
  QIOs) works with providers, stakeholders, and Medicare beneficiaries to Improve the quality of health care for targeted
  health conditions. QI Os will have new skills for transforming practices, employing lean methodologies, assisting


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   Medicare providers with !heir lransition to the Quality Paymenl Program, and developing innovative approaches to
   quality improvement.

   QIO Reports to Congress

   CMS is required to publish a Report to Congress every fiscal year !hat outlines the administration, cost, and impact of
   the QIO Program    See lhe links in tho "Downloads" section to read our most recent fiscal year Report to Congress.

   Also in the "Downloads" section, read our special Report to Congress in response to the lnslitule of Medicine's 2006
   study on the QIO Program, Medicare's Quality Improvement Organization Program: Maximizing Potential. CMS'
   response to that report outlines improvements, based on an extensive CMS review and recommendations from the
   Institute of Medicine, to strenglhen Medicare's oversight and evalualion of the QIO Program to better meet the future
   needs of beneficiaries and health care providers.


    Downloads

    Annual Reriort to Congress: 010 Program-Fiscal Ye<1r 2017 [PDF, 854KB]
    Annual ReP.ort to Congress: QIO Program-Fiscal Year 2016 [PDF, 863KB]
    Annual ReRort lo Congress: QIO Program-Fiscal Year 2015 [PDF, 570KB]
    Annua!Repsirt lo Congress: QIO Program-Fiscal Year 2014 [PDF, 797KB]
    Annual ReR• rt to Congress: QIO Program -Fiscal Year 2013 [PDF, 8MB]
    Annual ReP.ort to Congress: QIO PrQgram-Fiscal Year 2012 [PDF,JU!ill]
    Annual Report to Congress: QIO Program-Fiscal Year 2011 [PDF, 2241<8]
    Annual Report to Congress: 010 Program-Fiscal Year 2010 [PDF, 234KB]
    lndenendent Evaluation of the 9th SOW,.Q!QE[Qgram: Final Renart (Nov 2011 UPDF, 8441<8]
    Annual ReP.ort to Congress: 010 Program - Fiscal Year 2009 [PDF, 1MB]
    Annual Repor1 to Congress: QIO Program - Fiscal Year 2008 [PDF,J.M.§]
    Annual Report to Congress: 010 Program - Fiscal Year 2007 [PDF, 1MB]
    Annual..Rimort to Corigress: QIO Program - Fiscal Year 2006 [PDF, 99K8]
    &P.ort to Congress: Resflonse to IOM SludY. on the 010 Prog@ill.!PDF, 189KB]
    .O!Q.Emgram Progress Factsheet 2011-2014 [EQF, 6711<8]
    .O!Q.Emgram Progress lnfogurnhic 2011-2014 [EQE,..1MJ;!]
    010 Program Progress Task lnfogurnhics 2011-2014 [PDF. 5MB]
    QIO Pr.Qgram Activity~ry 2011-2014 [PDF, 3451<8]



    Related Links

    Quali!Y.l'l~l @
    010 Director~@



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